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Fil__'L;D 5».\.,' g \L/“_ D.C.
IN THE UNITED STATES DISTRICT COURT
FOR THE wEsTERN DISTRICT oF TENNESSEE 95 AU@ 31 ppg 5: 25
WESTERN DIVISION

 

UNITED STATES OF AMERICA

 

Plaintiff,

v. CR. NO. 03~20468-01-Ma
TERRY GARNER,

Defendant.

 

ORDER TO SURRENDER

 

The defendant, Terry Garner, having been sentenced in the above
case to the custody of the Bureau of Prisons and having been granted
leave by the Court to report to the designated facility, IS HEREBY
ORDERED to surrender to the Bureau of Prisons by reporting to United
States Prison (Satellite Camp), P.C. Box 1000, 1000 Airbase Road,
Pollock, Louisiana 71467, no later than 2:00 p.m. cna Friday,
September 23, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order
the defendant shall report immediately to the Office of the Clerk,
Federal Office Building, 167 N. Main Street, Room 242, Memphis,
Tennessee 38103 to acknowledge by signature receipt of a copy of
this Order and that defendant Will report as ordered to the facility
named above.

ENTERED this the alsl'day of August, 2005.

V//H»L`

SAMUEL H. MAYS, JR.

This comment entered on the docket 3b et irri']§)]li'l|-BEPQSTATES DISTRICT JUDGE
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ACKNOWLEDGIENT

I agree to report as directed above and understh that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
i.mprieonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Cler]: Defendant

 

 

thice cf Distribution

This notice confirms a copy of the document docketed as number 94 in
case 2:03-CR-20468 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

